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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI et al.,
                                                       Civil Action No. 3:16-cv-01345-AWT
          Plaintiffs,
                                                       Hon. Alvin W. Thompson
v.

YALE UNIVERSITY et al.,

          Defendants.

         SUPPLEMENTAL DECLARATION OF BRIAN D. NETTER IN SUPPORT OF
              DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND
              MOTIONS TO EXCLUDE PLAINTIFFS’ EXPERT WITNESSES

          I, Brian D. Netter, am a partner with the law firm Mayer Brown LLP, and represent

Defendants Yale University, Michael A. Peel, and the Fiduciary Committee on Investments

(collectively, “Yale”) in this action. I submit this declaration in support of the following motions:

         Defendants’ Motion for Summary Judgment,

         Defendants’ Motion to Exclude Plaintiffs’ Experts Wendy Dominguez and Gerald Buetow,

         Defendants’ Motion to Exclude Plaintiffs’ Experts Al Otto and Ty Minnich; and

         Defendants’ Motion to Exclude Plaintiffs’ Expert Daniel Alexander.

I have personal knowledge of all facts stated in this declaration, and would testify to such facts if

called as a witness.

          1.      Attached hereto as Exhibit 121 is a true and correct copy of relevant excerpts from

the February 20, 2019 deposition of Hugh Penney in this action.

          2.      Attached hereto as Exhibit 122 is a true and correct copy of testimony presented

by Hugh Penney to the Employee Benefits Security Administration’s ERISA Advisory Council on

August 19, 2015. This testimony is available at https://www.dol.gov/agencies/ebsa/about-




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ebsa/about-us/erisa-advisory-council/2015-written-statements-by-invited-witnesses-and-issue-

statements.

       3.     Attached hereto as Exhibit 123 is a true and correct copy of Yale’s Rule 26(a)(1)

Disclosures, dated July 13, 2018.

       4.     Attached hereto as Exhibit 124 is a true and correct copy of Plaintiffs’ Second

Supplemental Rule 26(a)(1) Disclosures, dated April 21, 2019.

       5.     Attached hereto as Exhibit 125 is a true and correct copy of the Expert Report of

Ty Minnich in Cunningham v. Cornell University, No. 1:16-cv-06525 (S.D.N.Y.), dated August

24, 2018. The report is filed on the public docket in the Cunningham case at Dkt. 355-8.

       6.     Attached hereto as Exhibit 126 is a true and correct copy of the Opposition to the

Cornell Defendants’ Motion to Exclude Ty Minnich and Al Otto, dated March 11, 2019. The

opposition is filed on the public docket in the Cunningham case at Dkt. 298.

       7.     Attached hereto as Exhibit 127 is a true and correct copy of the Opposition to the

Cornell Defendants’ Motion to Exclude Wendy Dominguez and Gerald Buetow, dated March 11,

2019. The opposition is filed on the public docket in the Cunningham case at Dkt. 300.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed this 4th day of March, 2021, in Washington, DC.

                                                     /s/ Brian D. Netter
                                                     Brian D. Netter




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2021, a copy of foregoing document was filed

electronically using the Court’s CM/ECF system. Notice of this filing will be sent by e-mail to all

parties by operation of the CM/ECF system.



                                                        /s/ Brian D. Netter
                                                        Brian D. Netter
